Case 9:18-cv-80176-BB Document 758 Entered on FLSD Docket 10/31/2021 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative              CASE NO.: 9:18-cv-80176-BB
   of the Estate of David Kleiman, and W&K Info
   Defense
   Research, LLC

          Plaintiffs,

   v.

   CRAIG WRIGHT

          Defendant.

                             PLAINTIFFS’ NOTICE OF FILING
                            OF AMENDED TRIAL EXHIBIT LIST

         Plaintiffs Ira Kleiman as Personal Representative of the Estate of David Kleiman and W&K

  Info Defense Research, LLC hereby give notice of filing their Amended Trial Exhibit List.

                                                 Respectfully submitted,
  Dated: October 31, 2021
                                                 By: /s/ Velvel (Devin) Freedman
                                                 Velvel (Devin) Freedman, Esq.
                                                 ROCHE FREEDMAN LLP
                                                 200 S. Biscayne Blvd.
                                                 Suite 5500 Miami, Florida 33131
                                                 vel@rochefreedman.com

                                                 Kyle W. Roche, Esq.
                                                 Joseph M. Delich
                                                 ROCHE FREEDMAN LLP
                                                 99 Park Avenue, 19th Floor
                                                 New York, New York 10016
                                                 kyle@rochefreedman.com
                                                 jdelich@rochefreedman.com




                                                 1
Case 9:18-cv-80176-BB Document 758 Entered on FLSD Docket 10/31/2021 Page 2 of 2




                                                Andrew S. Brenner, Esq.
                                                BOIES SCHILLER FLEXNER LLP
                                                100 SE 2nd Street, Suite 2800
                                                Miami, Florida 33131
                                                abrenner@bsfllp.com

                                                Counsel to Plaintiffs Ira Kleiman as
                                                Personal Representative of the Estate of
                                                David Kleiman and W&K Info Defense
                                                Research, LLC.


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 31, 2021 a true and correct copy of the foregoing

  was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                    /s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman




                                                2
